Case 23-50459-LSS   Doc 34-6   Filed 11/30/23   Page 1 of 10




        EXHIBIT E
              Case 23-50459-LSS                 Doc 34-6         Filed 11/30/23   Page 2 of 10




                                           Delaware                                                   Page 1

                                                       The First State



             I, JEFFREY W. BULLOCK, SECRETARY OF STATE OF THE STATE OF

    DELAWARE, DO HEREBY CERTIFY THE ATTACHED IS A TRUE AND CORRECT

    COPY OF THE RESTATED CERTIFICATE OF “PROJECT VERTE INC.”, FILED

    IN THIS OFFICE ON THE SEVENTEENTH DAY OF JUNE, A.D. 2019, AT

    8:47 O`CLOCK P.M.

             A FILED COPY OF THIS CERTIFICATE HAS BEEN FORWARDED TO THE

    KENT COUNTY RECORDER OF DEEDS.




6656241 8100                                                                          Authentication: 203043585
SR# 20195490139                                                                                   Date: 06-17-19
You may verify this certificate online at corp.delaware.gov/authver.shtml
              Case 23-50459-LSS            Doc 34-6       Filed 11/30/23       Page 3 of 10
                                                                                           State of Delaware
                                                                                           Secretary of State
                                                                                       Division of Corporations
                                                                                     Delivered 08:47 PM06/17/2019
                                                                                      FILED 08:47 PM 06/17/2019
                                         PROJECT VERTE INC.                     SR 20195490139 - File Number 6656241

              AMENDED AND RESTATED CERTIFICATE OF INCORPORATION

                                  (Pursuant to Sections 242 and 245 of
                          the General Corporation Law of the State of Delaware)

         Project Verte Inc., a corporation organized and existing under and by virtue of the provisions of
the General Corporation Law of the State of Delaware (the "General Corporation Law'], does hereby
certify as follows:

         1.      The name of this corporation is Project Verte Inc. and this corporation was originally
incorporated pursuant to the General Corporation Law on December 11, 2017, under the name Vert
Enterprises Inc. A Certificate of Correction of Certificate of Incorporation was filed on December 14,
2017, a Certificate of Amendment of Certificate of Incorporation was filed on March 7, 2018, a
Certificate of Amendment of Certificate of Incorporation was filed on July 2, 2018, and a Restated
Certificate oflncorporation was filed on April 4, 2019, and a Certificate of Amendment of Certificate of
Incorporation was filed on April 18, 2019.

        2.      Prior to the date hereof, all holders of shares of Preferred Stock of the Corporation
converted such shares into Common Stock of the Corporation.

         3.       The Board of Directors of this corporation duly adopted resolutions proposing to amend
and restate the Certificate of Incorporation of this corporation, declaring said amendment and restatement
to be advisable and in the best interests of this corporation and its stockholders, and authorizing the
appropriate officers of this corporation to solicit the consent of the stockholders therefor, which resolution
setting forth the proposed amendment and restatement is as follows:

                RESOLVED, that the Certificate of Incorporation of this corporation be
                amended and restated in its entirety to read as set forth on Exhibit A
                attached hereto and incorporated herein by this reference.

         4.      Exhibit A referred to above is attached hereto as Exhibit A and is hereby incorporated
herein by this reference. This Restated Certificate of Incorporation was approved by the holders of the
requisite number of shares of this corporation in accordance with Section 228 of the General Corporation
Law,

       5.      This Restated Certificate of Incorporation, which restates and integrates and further
amends the provisions of this corporation's Certificate of Incorporation, has been duly adopted in
accordance with Sections 242 and 245 of the General Corporation Law.

        IN WITNESS WHEREOF, this Restated Certificate of Incorporation has been executed by a
duly authorized officer of this corporation on this 17th day of June, 2019.

                                                  By: /s/ Sara Rubenstein
                                                  Sara Rubenstein, Secretary
               Case 23-50459-LSS           Doc 34-6      Filed 11/30/23       Page 4 of 10



                                               EXHIBIT A

                                        PROJECT VERTE INC.

               AMENDED AND RESTATED CERTIFICATE OF INCORPORATION

                                          ARTICLE I: NAME.

        The name of this corporation is Project Verte Inc. (the "Corporation ").

                                ARTICLE II: REGISTERED OFFICE.

        The address of the registered office of the Corporation in the State of Delaware is 160 Greentree
Drive, Suite 101, in the City of Dover, 19904 County of Kent. The name of its registered agent at such
address is National Registered Agents, Inc.

                                     ARTICLE III: DEFINITIONS.

       As used in this Restated Certificate (the "Restated Certificate"), the following terms have the
meanings set forth below:

        "Requisite Holders" means the holders of at least sixty-eight percent (68%) of the outstanding
shares of Common Stock (voting as a single class on an as-converted basis).

                                       ARTICLE IV: PURPOSE.

         The nature of the business or purposes to be conducted or promoted is to engage in any lawful act
or activity for which corporations may be organized under the General Corporation Law.

                               ARTICLE V: AUTHORIZED SHARES.

        The total number of shares of all classes of stock that the Corporation has authority to issue is two
hundred fifty million (250,000,000), (a) two hundred million (200,000,000) of which are shares of
Common Stock, $0.0001 par value per share and (b) fifty million (50,000,000) of which are shares of
Preferred Stock, $0.000 l par value per share.

A.      COMMON STOCK

        The following rights, powers, and privileges and restrictions, qualifications, and limitations apply
to the Common Stock.

         1.      General. The voting, dividend and liquidation rights of the holders of the Common
Stock are subject to and qualified by the rights, powers and privileges of the holders of any shares of
capital stock ofthe Corporation senior to the Common Stock set forth in this Restated Certificate.

       2.       Liquidation, Dissolution, or Winding Up; Certain Mergers, Consolidations and
Asset Sales.

                2.1.     Payments to Holders of Common Stock. In the event of any voluntary or
involuntary liquidation, dissolution, or winding up or Deemed Liquidation Event of the Corporation, the
funds and assets available for distribution to the stockholders of the Corporation will be distributed
              Case 23-50459-LSS            Doc 34-6        Filed 11/30/23       Page 5 of 10



among the holders of shares of Common Stock, pro rata based on the number of shares of Common Stock
held by each such holder.

                2.2.      Deemed Liquidation Events.

                           2.2.1. Definition. Each of the following events is a "Deemed Liquidation
Event" unless the Requisite Holders elect otherwise by written notice received by the Corporation at
least five (5) days prior to the effective date of any such event:

                         (a)      a merger or consolidation in which (i) the Corporation is a constituent
        party or (ii) a subsidiary of the Corporation is a constituent party and the Corporation issues
        shares of its capital stock pursuant to such merger or consolidation, except any such merger or
        consolidation involving the Corporation or a subsidiary in which the shares of capital stock of the
        Corporation outstanding immediately prior to such merger or consolidation continue to represent,
        or are converted into or exchanged for equity securities that represent, immediately following
        such merger or consolidation, at least a majority, by voting power, of the equity securities of (1)
        the surviving or resulting party or (2) if the surviving or resulting party is a wholly owned
        subsidiary of another party immediately following such merger or consolidation, the parent of
        such surviving or resulting party; provided that, for the purpose of this Section 2.2.1, all shares of
        Common Stock issuable upon exercise of options outstanding immediately prior to such merger
        or consolidation or upon conversion of Convertible Securities (as defined below) outstanding
        immediately prior to such merger or consolidation shall be deemed to be outstanding immediately
        prior to such merger or consolidation and, if applicable, deemed to be converted or exchanged in
        such merger or consolidation on the same terms as the actual outstanding shares of Common
        Stock are converted or exchanged; or

                         (b)      the sale, lease, transfer, exclusive license or other disposition, in a single
        transaction or series of related transactions, by the Corporation or any subsidiary of the
        Corporation of all or substantially all the assets of the Corporation and its subsidiaries taken as a
        whole, or, if substantially all of the assets of the Corporation and its subsidiaries taken as a whole
        are held by such subsidiary or subsidiaries, the sale or disposition (whether by merger or
        otherwise) of one or more such subsidiaries of the Corporation, except where such sale, lease,
        transfer or other disposition is to the Corporation or one or more wholly owned subsidiaries of the
        Corporation.

                          2.2.2. Amount Deemed Paid or Distributed. The funds and assets deemed paid
or distributed to the holders ofcapital stock of the Corporation upon any such merger, consolidation, sale,
transfer or other disposition described in this Section 2.2 will be the cash or the value of the property,
rights or securities paid or distributed to such holders by the Corporation or the acquiring person, firm or
other entity. The value of such property, rights or securities shall be determined in good faith by the
Board.

        3.      Voting.

               3.1.    General. The holders of the Common Stock are entitled to one vote for each
share of Common Stock held at all meetings of stockholders (and written actions in lieu of meetings).
Unless required by law, there shall be no cumulative voting. The number of authorized shares of
Common Stock may be increased or decreased (but not below the number of shares thereof then
outstanding) by the affirmative vote of the holders of shares of capital stock of the Corporation
representing a majority of the votes represented by all outstanding shares of capital stock of the




                                                     -3-
              Case 23-50459-LSS            Doc 34-6        Filed 11/30/23     Page 6 of 10



Corporation entitled to vote, irrespective of the prov1s1ons of Section 242(b)(2) of the General
Corporation Law.

                  3.2.    Election of Directors. Any director elected may be removed with or without
cause by the affirmative vote of the holders of the shares of the class, classes, or series of capital stock
entitled to elect the director or directors, given either at a special meeting of the stockholders duly called
for that purpose or pursuant to a written consent of stockholders. At any meeting held for the purpose of
electing a director, the presence in person or by proxy of the holders of a majority of the outstanding
shares of the class, classes, or series entitled to elect the director constitutes a quorum for the purpose of
electing the director.

                3.3.     Protective Provisions. The Corporation shall not, either directly or indirectly by
amendment, merger, consolidation or otherwise, do any of the following without (in addition to any other
vote required by law, the Bylaws of the Corporation or the Restated Certificate) the written consent or
affirmative vote of the Requisite Holders, given in writing or by vote at a meeting, consenting, or voting
(as the case may be) separately as a single class:

                         (a)     amend, modify or waive the terms of this Restated Certificate or the
        Bylaws;

                          (b)    increase or decrease the authorized number of shares of any class or
        series of capital stock;

                        (c)     authorize or create (by reclassification or otherwise) any new class or
        series of capital stock having rights, powers, or privileges set forth in the certificate of
        incorporation of the Corporation, as then in effect, that are senior to or on a parity with any series
        of Common Stock;

                        (d)     redeem or repurchase any shares of capital stock of the Corporation
        (other than pursuant to employee or consultant agreements giving the Corporation the right to
        repurchase shares upon the termination of services pursuant to the terms of the applicable
        agreement);

                         (e)     declare or pay any dividend or otherwise make a distribution to holders
        of capital stock of the Corporation;

                         (f)     increase or decrease the number of directors of the Corporation;

                        (g)     liquidate, dissolve, or wind-up the business and affairs of the
        Corporation, effect any Deemed Liquidation Event, or consent, agree or commit to do any of the
        foregoing without conditioning such consent, agreement or commitment upon obtaining the
        approval required by this Section 3.3.

        4.       Dividends. The Corporation shall declare all dividends pro rata on the Common Stock
on a pari passu basis according to the number of shares of Common Stock held by such holders.

        5.        Notice of Record Date. In the event:

                         (a)    the Corporation takes a record of the holders of its Common Stock (or
        other capital stock or securities) for the purpose of entitling or enabling them to receive any




                                                     -4-
              Case 23-50459-LSS            Doc 34-6        Filed 11/30/23     Page 7 of 10



        dividend or other distribution, or to receive any right to subscribe for or purchase any shares of
        capital stock of any class or any other securities, or to receive any other security; or

                     (b)      of any capital reorganization of the Corporation, any reclassification of
        the Common Stock of the Corporation, or any Deemed Liquidation Event; or

                        (c)      of the voluntary or involuntary dissolution, liquidation or winding-up of
        the Corporation,

then, and in each such case, the Corporation shall send or cause to be sent to the holders of the Common
Stock a written notice specifying, as the case may be, (i) the record date for such dividend, distribution, or
right, and the amount and character of such dividend, distribution or right, or (ii) the effective date on
which such reorganization, reclassification, consolidation, merger, transfer, dissolution, liquidation or
winding-up is proposed to take place, and the time, if any is to be fixed, as of which the holders of record
of Common Stock ( or such other capital stock or securities) will be entitled to exchange their shares of
Common Stock (or such other capital stock or securities) for securities or other property deliverable upon
such reorganization, reclassification, consolidation, merger, transfer, dissolution, liquidation or winding-
up, and the amount per share and character of such exchange applicable to the Common Stock.

        6.       Notices. Except as otherwise provided herein, any notice required or permitted by the
provisions of this Article V to be given to a holder of shares of Common Stock must be mailed, postage
prepaid, to the post office address last shown on the records of the Corporation, or given by electronic
communication in compliance with the provisions of the General Corporation Law, and will be deemed
sent upon such mailing or electronic transmission.

B.      PREFERRED STOCK

         The Board of Directors shall have the full authority permitted by law, at any time and from time
to time, to provide by resolution or resolutions for the issuance of shares of Preferred Stock in one or
more classes or series, and by filing a certificate pursuant to the General Corporation Law (such
certificate being hereinafter referred to as a "Preferred Stock Designation''), to establish from time to
time the number of shares to be included in each such class or series, and to determine the following
provisions, designations, powers, preferences and relative, participating, optional and other special rights,
and the qualifications, limitations or restrictions, of the shares of any such series of Preferred Stock:

                  1.      the designation of such series (which may be by distinguishing number, letter or
        title), the number of shares to constitute such series (which number the Board of Directors may
        thereafter increase or decrease (but not below the number of shares thereof then outstanding) and
        the stated or liquidation value thereof, if different from the par value thereof;

                 2.     whether the shares of such series shall have voting rights in addition to any
        voting rights provided by law, and, if so, the terms of such voting rights, which may be full or
        limited;

                3.      the dividends, if any, payable on such series, whether any such dividends shall be
        cumulative and, if so, from what dates, the conditions and dates upon which such dividends shall
        be payable, the preference or relation which such dividends shall bear to the dividends payable on
        any shares of any other class of capital stock or any other series of Preferred Stock;

               4.       whether the shares of such series shall be subject to redemption at the election of
        the Corporation or the holders of such series, or upon the occurrence of a specified event and, if



                                                     -5-
               Case 23-50459-LSS           Doc 34-6        Filed 11/30/23      Page 8 of 10



        so, the times, prices and other terms and conditions of such redemption, including the manner of
        selecting shares for redemption if less than all shares are to be redeemed and the securities or
        other property payable on such redemption, if any;

                 5.       the amount or amounts payable on, if any, and the preferences, if any, of shares
        of such series in the event of any voluntary or involuntary liquidation, dissolution or winding up
        of the affairs of, or upon any distribution of the assets of, the Corporation;

                6.       whether the shares of such series shall be subject to the operation of a retirement
        or sinking fund and, if so, the extent to and manner in which any such retirement or sinking fund
        shall be applied to the purchase or redemption of the shares of such series for retirement or other
        corporate purposes and the terms and provisions relative to the operation thereof;

                 7.     whether the shares of such series shall be convertible into, or exchangeable for,
        shares of any other class of capital stock or any other series of Preferred Stock or any other
        securities (whether or not issued by the Corporation) and, if so, the price or prices or the rate or
        rates of conversion or exchange and the method, if any, of adjusting the same, and any other
        terms and conditions of conversion or exchange;

                 8.      the limitations and restrictions, if any, to be effective while any shares of such
        series are outstanding upon the payment of dividends or the making of other distributions on, or
        upon the purchase, redemption or other acquisition by the Corporation of, the Common Stock or
        shares of any other class of capital stock or any other series of Preferred Stock;

                9.       the conditions or restrictions, if any, upon the creation of indebtedness of the
        Corporation or upon the issuance of any additional stock, including additional shares of any other
        series of Preferred Stock or of any other class of capital stock;

                 10.      the ranking (be it pari passu, junior or senior) of each series vis-a-vis any other
        class of capital stock or series of Preferred Stock as to the payment of dividends, the distribution
        of assets and all other matters; and

                 11.    any other powers, preferences and relative, participating, optional or other special
        rights, and any qualifications, limitations or restrictions of such series of Preferred Stock, insofar
        as they are not inconsistent with the provisions of this Restated Certificate, to the full extent
        permitted in accordance with the General Corporation Law.

         The powers, preferences and relative, participating, optional or other special rights, if any, of each
series of Preferred Stock, and the qualifications, limitations or restrictions thereof, if any, may differ from
those of any and all other series of Preferred Stock at any time outstanding. The number of authorized
shares of Preferred Stock may be increased or decreased (but not below the number of shares thereof then
outstanding) by the affirmative vote of the holders of a majority of the voting power of all of the
outstanding shares of capital stock of the Corporation entitled to vote thereon, without a separate class
vote of the holders of Preferred Stock, or any separate series votes of any series thereof, unless a vote of
any such holders is required pursuant to the terms of any Preferred Stock Designation.

                                ARTICLE VI: PREEMPTIVE RIGHTS.

         No stockholder of the Corporation has a right to purchase shares of capital stock of the
Corporation sold or issued by the Corporation except to the extent that such a right may from time to time
be set forth in a written agreement between the Corporation and the stockholder.



                                                     -6-
               Case 23-50459-LSS            Doc 34-6        Filed 11/30/23      Page 9 of 10



                                ARTICLE VIII: BYLAW PROVISIONS.

        A.        AMENDMENT OF BYLAWS. Subject to any additional vote required by this Restated
Certificate or bylaws of the Corporation (the "Bylaws"), in furtherance and not in limitation of the
powers conferred by statute, the Board is expressly authorized to make, repeal, alter, amend and rescind
any or all of the Bylaws,

        B.       NUMBER OF DIRECTORS. Subject to any additional vote required by this Restated
Certificate, the number of directors of the Corporation will be determined in the manner set forth in the
Bylaws.

        C.       BALLOT. Elections of directors need not be by written ballot unless the Bylaws so
provide.

         D.      MEETINGS AND BOOKS. Meetings of stockholders may be held within or without
the State of Delaware, as the Bylaws may provide. The books of the Corporation may be kept outside the
State of Delaware at such place or places as may be designated from time to time by the Board or in the
Bylaws,

                                ARTICLE IX: DIRECTOR LIABILITY.

         A       LIMITATION. To the fullest extent permitted by law, a director of the Corporation
shall not be personally liable to the Corporation or its stockholders for monetary damages for breach of
fiduciary duty as a director. If the General Corporation Law or any other law of the State of Delaware is
amended after approval by the stockholders of this Article IX to authorize corporate action further
eliminating or limiting the personal liability of directors, then the liability of a director of the Corporation
shall be eliminated or limited to the fullest extent permitted by the General Corporation Law as so
amended. Any repeal or modification of the foregoing provisions of this Article IX by the stockholders
will not adversely affect any right or protection of a director of the Corporation existing at the time of, or
increase the liability of any director of the Corporation with respect to any acts or omissions of such
director occurring prior to, such repeal or modification,

         B.     INDEMNIFICATION. To the fullest extent permitted by applicable law, the
Corporation is authorized to provide indemnification of (and advancement of expenses to) directors,
officers and agents of the Corporation (and any other persons to which General Corporation Law permits
the Corporation to provide indemnification) through Bylaw provisions, agreements with such agents or
other persons, vote of stockholders or disinterested directors or otherwise, in excess of the
indemnification and advancement otherwise permitted by Section 145 of the General Corporation Law.

         C.      MODIFICATION. Any amendment, repeal, or modification of the foregoing provisions
of this Article IX will not adversely affect any right or protection of any director, officer or other agent of
the Corporation existing at the time of such amendment, repeal or modification,

                           ARTICLE X: CORPORATE OPPORTUNITIES.

          The Corporation renounces any interest or expectancy of the Corporation in, or in being offered
an opportunity to participate in, or in being informed about, an Excluded Opportunity. "Excluded
Opportunity" means any matter, transaction or interest that is presented to, or acquired, created or
developed by, or which otherwise comes into the possession of, (i) any director of the Corporation who is
not an employee of the Corporation or any of its subsidiaries, or (ii) any holder of Common Stock or any
affiliate, partner, member, director, stockholder, employee, agent or other related person of any such



                                                      -7-
             Case 23-50459-LSS           Doc 34-6         Filed 11/30/23    Page 10 of 10



holder, other than someone who is an employee of the Corporation or any of its subsidiaries (a "Covered
Person"), unless such matter, transaction or interest is presented to, or acquired, created or developed by,
or otherwise comes into the possession of, a Covered Person expressly and solely in such Covered
Person's capacity as a director of the Corporation.

                                                  *****




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